 1
                                                    Judge:                 Christopher M. Alston
 2
                                                    Chapter:               7
                                                    Hearing Date:          September 17, 2021
 3                                                  Hearing Time:          9:30 a.m.
                                                    Hearing Site           Telephonic – Call in
 4                                                                         instructions at end of
                                                                           document
 5
                                                    Reply Date:            September 10, 2021
 6
                              UNITED STATES BANKRUPTCY COURT FOR THE
 7                           WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8   In Re:                                          Case No. 18-14820-CMA
 9
                                                     NOTICE OF HEARING ON AND TRUSTEE’S
10   SAMIA EL-MOSLIMANY                              AMENDED MOTION TO APPROVE COMPROMISE
                                                     AND SETTLEMENT
11                                  Debtor.

12

13                                                 I. NOTICE
14
              PLEASE TAKE NOTICE that Ronald G. Brown, the Chapter 7 Trustee (“Trustee Brown”)
15
     has filed an amended motion asking this Court to Approve a Compromise and Settlement of
16
     Adversary Proceeding No. 19-01116 (the “Trustee’s Amended Motion”). As part of the proposed
17

18
     settlement, the debtor’s residence will be abandoned from the bankruptcy estate and three

19   creditors will withdraw their claims with prejudice.

20
              PLEASE TAKE FURTHER NOTICE that the Debtor, Samia El-Moslimany, has filed a joinder
21
     in support of the Trustee’s Amended Motion (docket #227).
22

23            The hearing on the Trustee’s Amended Motion and the Debtor’s Joinder IS SET for

24   hearing on Friday, September 17, 2021 at 9:30 a.m.               The hearing will be conducted
25
     telephonically. The instructions to call in for the hearings are set forth at the end of this
26
     document.
27
                                         II.       INTRODUCTION
28

29
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30   AMENDED MOTION TO APPROVE SETTLEMENT                                               303 N. 67th Street
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              Trustee Brown is requesting that this Court approve a new settlement reached in
 1

 2
     Adversary Proceeding No. 19-01116. He believes the reasons stated by this Court for its denial of

 3   the previous motion to approve a settlement have been addressed in this amended motion. The

 4   Property was listed, and there was not much interest in the Property. The Trustees’ real estate
 5
     agent had only a few calls from parties wanting to view the Property. The Trustees did receive a
 6
     contingent offer for $1,300,000 which Trustee Brown did not accept because of the contingencies.
 7
     Trustee Brown believes his experience of listing of the Property indicates that the market value is
 8
     not more than $1,300,000 and not a higher amount previously suggested. The current settlement
 9

10   offer is for $500,000, $200,000 more than the previous settlement offer. In addition, it includes

11   waiver of the three filed insider claims of $544,211.17. This proposed settlement also moots

12   Trustee Brown’s objections to two of the insider claims (docket 163 and 164) and allows Trustee
13
     Brown to close the case.
14
                                      III.   FACTUAL BACKGROUND
15
     General Background
16

17
              2.1   Samia El-Moslimany filed a voluntary Chapter 7 bankruptcy petition on December

18   20, 2018 (“Petition Date”). Ronald G. Brown was appointed as the Chapter 7 Trustee the same day

19   (“Trustee Brown”). Among assets of the estate is real property located at 2655 SW 151 st Place,
20
     Seattle, WA 98166 (“Property”). The Debtor owns a 50% interest in the Property.                 As of the
21
     Petition Date, the Debtor’s mother, Ann Paxton El-Moslimany, owned the other 50% interest in the
22
     Property (“Ann El-Moslimany”).
23
              2.2   Ann El-Moslimany filed a voluntary chapter 7 bankruptcy petition on December 29,
24

25   2020, case no. 20-13149. Nancy James (“Trustee James”) was appointed as the Chapter 7 Trustee

26   on the same date.

27            2.3   Ann El-Moslimany passed away on January 25, 2021.
28

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               2.4    The Property is owned one-half by the Samia El-Moslimany bankruptcy estate and
 1

 2
     one-half by the Ann El-Moslimany bankruptcy estate. Both Samia El-Moslimany and Ann El-

 3   Moslimany claimed the maximum homestead exemption in the Property of $125,000.

 4   Brown v. Yousef
 5
               2.5    On January 25, 2013, Hayat Sindi (“Dr. Sindi”) filed a complaint against the Debtor
 6
     and her mother, Ann El-Moslimany, seeking damages in the amount of $10,000,000.00 for
 7
     defamation, tortious interference with contract, tortious interference with advantageous relations,
 8
     and intentional infliction of emotional distress (the “Massachusetts Lawsuit”).         See Adversary
 9

10   Proceeding Number 19-01116 - Docket #1, Exhibit 1.

11             2.6    After trial, the jury awarded damages of $3,500,000.00 against Debtor Samia El-

12   Moslimany and $600,000.00 against Ann El-Moslimany, which was later reduced to $2,107,808.88
13
     and $518,250.85, respectively1. On August 18, 2016, a Final Judgment was entered against the
14
     Debtor and Ann El-Moslimany. See Adversary Proceeding Number 19-01116- Docket #1, Exhibit 7.
15
     The Granting and Recording of the Deed of Trust and the Alleged Loans
16

17
               2.7    On September 1, 2016 the Debtor executed a Promissory Note in favor of Aziza Al-

18   Yousef (“Al-Yousef”), in the amount of $346,666.00.      The Deed of Trust securing a Promissory

19   Note executed by Samia El-Moslimany was recorded in King County on November 7, 2016. See
20
     Adversary Proceeding Number 19-01116- Docket #1, Exhibit 11. The Promissory Note specifically
21
     states that there is no interest charged on the alleged loans. See Brown Declaration, docket 226,
22
     paragraph 7 (“Brown Declaration”).
23
               2.8    On or about May 28, 2017 the Debtor executed a Promissory note to Al-Yousef to
24

25   document an alleged $100,000.00 loan. See Adversary Proceeding Number 19-01116- Docket #1,

26   Exhibit 18.

27   1
         On Appeal, the judgment was reduced to $1,500,000 and $344,000, respectively.
28

29
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              2.9    On or about July 25, 2019 the Debtor executed a promissory note to Al-Yousef to
 1

 2
     document an alleged $26,666.66 loan. See Adversary Proceeding Number 19-01116 - Docket #1,

 3   Exhibit 19.

 4            2.10   Trustee Brown filed a complaint to avoid the transfers set forth in 2.27, 2.28 and
 5
     2.29 which total $472,666.00 and were specifically mentioned in his Complaint. The Debtor’s
 6
     schedules list the amount owing on the Al-Yousef deed of trust as $500,000.00. Brown Declaration,
 7
     ¶ 9. Ann El-Moslimany scheduled the amount owing on the Deed of Trust as $540,000.00.
 8
              2.11   The Debtor is now contending the actual amount owing on the Deed of Trust is
 9

10   $574,536 (dkt. #130-1).    The additional $104,720 is not evidenced by a Promissory Note. The

11   Debtor contends, however, that it is secured by the future advance provision contained in the Deed

12   of Trust. Brown Declaration, ¶10.
13
              2.12   By Trustee Brown’s estimation, the amount of the deed of trust ranges from
14
     $472,666.00 to $574,536. Brown Declaration, ¶ 11.
15
              2.13   Trustee Brown alleged in his Adversary complaint that the granting of the Deed of
16

17
     Trust to Al-Yousef was done intentionally to at least hinder or delay, if not defraud, Dr. Sindi and

18   prevent her from reaching the equity in the Property to satisfy her judgments against Samia El-

19   Moslimany and Ann El-Moslimany. Trustee Brown also alleged that the transfers, the granting of
20
     the Deeds of Trust (“Transfer”), were constructively fraudulent because the Debtor did not
21
     receive reasonably equivalent value in exchange for the transfer.
22
     Current Status of the Adversary Proceeding
23
              2.14   The trial in Adversary Proceeding 19-01116 was set to be held on September 21,
24

25   22 and 23, 2021.      The Plaintiff and the Debtor/Intervenor have sent a letter to the Court

26   requesting a continuance of the trial dates pending a hearing on this motion.

27   Status of the Listing of the Property and analysis from the sale of the Property
28

29
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              2.15   The Property was listed for sale on June 29, 2021 for a price of $1,295,000. There
 1

 2
     were only two showings of the Property, both to the same couple. On July 16, 2021, Trustees

 3   Brown and James received an offer of $1,300,000.00, contingent on the sale of the buyer’s

 4   residence which they listed for sale the same day as they made the offer. On July 23, 2021,
 5
     Trustees Brown and James rejected the offer because of the contingencies. On July 23, 2021,
 6
     Trustees Brown and James requested that their real estate agent suspended the listing for one
 7
     week pending determination as to whether they were going to accept the $500,000 offer from the
 8
     Debtor. The reason the listing was suspended was because Trustees Brown and James believed
 9

10   that if an agent brought them a full price offer with no contingences, the estate would potentially

11   be exposed to a claim for the amount of the buyer’s real estate commission if the offer were not

12   accepted. Trustees Brown and James agreed to accept the settlement offered on Thursday, July
13
     29, 2021. On July 30, 2021, the listing was suspended for one more week. On August 2, 2021, the
14
     agent received an offer for $1,300,000 from the original offeror, with no contingencies, despite
15
     the fact the listing was suspended. Brown Declaration, ¶12 and Declaration of Rik Jones.
16

17
              2.16   An analysis of the amount Trustee Brown believes the estate would receive from a

18   sale of the Property at $1,300,000 under three scenarios follows.

19                          SCENARIO 1: AMOUNT OF YOUSEF DOT $472,666.00
20
              Sales Price                                          $1,300,000.00
21
              Costs of sale @8%                                    $ 104,000.00
22
              Subtotal                                             $1,196,000.00
23
              Payoff to 1st, WA Fed.                               $ 420,000.00
24

25            Payoff to 2nd – Al-Yousef                            $ 472,666.00

26            Subtotal                                             $ 303,000.00

27            Homestead for Samia & Ann El-Moslimany               $ 250,000.00
28

29
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              Net proceeds subject to judgment lien of Hayat Sindi $               53,334.002
 1

 2
                                SCENARIO 2: AMOUNT OF YOUSEF DOT $500,000

 3            Sales Price                                                     $1,300,000.00

 4            Costs of sale @8%                                               $ 104,000.00
 5
              Subtotal                                                        $1,196,000.00
 6
              Payoff to 1st, WA Fed.                                          $ 420,000.00
 7
              Payoff to 2nd – Al-Yousef                                       $ 500,000.00
 8
              Subtotal                                                        $ 276,000.00
 9

10            Homestead for Samia & Ann El-Moslimany                          $ 250,000.00

11            Net proceeds subject to judgment lien of Hayat Sindi $               26,000.00

12                              SCENARIO 3: AMOUNT OF YOUSEF DOT $574,536
13
              Sales Price                                                     $1,300,000.00
14
              Costs of sale @8%                                               $ 104,000.00
15
              Subtotal                                                        $1,196,000.00
16

17
              Payoff to 1st, WA Fed.                                          $ 420,000.00

18            Payoff to 2nd – Al-Yousef                                       $ 574,536.00

19            Subtotal                                                        $ 201,464.00
20
              Homestead for Samia & Ann El-Moslimany                          $ 201,464.00
21
              Net proceeds subject to judgment lien of Hayat Sindi $                    0.00
22
              See Brown Declaration, ¶ 13.
23
     Settlement Offer
24

25            2.17     The Debtor has offered Trustees Brown and James $500,000.003 to settle the

26   Adversary Proceeding and abandon the Property, in addition to the withdrawal of three proofs of

27
     2
28     For a sale to occur, Hayat Sindi would have to agree to split the net proceeds with the estate, which would result in
     $26,667, one-half of which ($13,333.50) would have to be paid to unsecured creditors, and the Court would be
29   required to find the KVN requirements had been made in order to approve a short-sale.
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32
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     claim: 1) Claim #6 filed by Sulayman Dehlawi in the amount of $130,000.00; 2) claim #7 filed by
 1

 2
     Fouad Mohammed Amin Al Dehlawi in the amount of $178,676.67. Trustee Brown filed an

 3   objection to this proof of claim; see docket #163. In his response to Trustee Brown’s objection, he

 4   now contends the amount owed to him is $327,891.00 (docket #176); and 3) Claim #8 filed by
 5
     Zakariya Dehlawi in the amount of $86,320.17. The claim was not timely filed. Trustee Brown
 6
     has not yet filed an objection to the claim but absent a settlement will do so on the basis it is an
 7
     untimely filed claim and occupies the priority status of a Section 726(a)(3) claim. All three of
 8
     these claimants are insiders of the Debtor. All three claimants have agreed to withdraw their
 9

10   claims, with prejudice, if a settlement is approved. The claims total $544,211.17. The remaining

11   claims total $1,679,277.90.           Hayat Sindi makes up 92.3% of the remaining claims pool in the

12   Samia El-Moslimany case. Brown Declaration, ¶ 14-18.
13
                2.18     Trustee Brown based his decision to accept this settlement upon the four factors set
14
     forth in the case of A&C Properties, 784 F.2d 1377 (9th Cir. 1986), which are set forth and discussed
15
     below. Using his business judgment, he believes the proposed settlement is in the best interests of
16

17
     the unsecured creditors of his bankruptcy estate.

18                                                      IV. ARGUMENT

19   A.         Probability of Success in Litigation.
20
                Trustee Brown believes he has a 75% chance of proving that the transfers to Al-Yousef
21
     were actually and/or constructively fraudulent. Brown Declaration, ¶ 20.
22

23
     B.         Difficulties to be encountered in the matter of Collection.

24              If Trustee Brown were to prevail, he would step into the shoes of Al-Yousef and he would

25   be the holder of the Deed of Trust.              Trustee Brown believes there is substantial equity in the
26
     Property and, as such, he does not believe there would be much difficulty in collecting on the
27

28
     3
29       The $500,000 is in the trust account of Elena Garella.
     NOTICE OF HEARING ON AND TRUSTEE’S                                                Wood & Jones, P.S.
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     judgment. Trustee Brown believes the amount of the deed of trust would be between $472,666.
 1

 2
     and $574,666.

 3
     C. Complexity of litigation and expense, inconvenience and delay attendant therewith.
 4

 5            Trustee Brown estimates between now and the conclusion of a trial an additional $30,000

 6    in legal fees and expenses would be incurred in preparing for and attending a three-day trial.
 7
      Brown Declaration, ¶ 22-24.
 8
              Trustee Brown does not believe the trial would be especially complicated. He does believe
 9
     that there would be a few motions in limine that would have to be decided before the trial. Brown
10
     Declaration, ¶23.
11

12            Trustee Brown decided to accept the settlement offer largely based on the scenarios
13
     described above, because under both Scenario 1 and 2, the estate will receive almost the exact
14
     same amount as the settlement offer, but without the expense of preparing for and attending a
15
     trial, and without running the risk of the 25% chance (in Trustee Brown’s opinion) of not
16

     prevailing at trial. Under Scenario 3, the estate would potentially receive $75,000 more in funds
17

18   if he prevailed at trial. However, Trustee Brown would incur the cost of not only going to trial,

19   which he estimates to be $30,000, but also the cost to obtain a determination of the validity of the
20
     insider claims.
21
              Trustee Brown deems it probable that the Court would convert the insider claims
22
     objections into contested matters and he would incur legal fees in resolving those claims. Even if
23
     the both objections were resolved quickly it is likely the estate would incur another $5,000 -
24

25
     $10,000 to resolve those claims and object to the third insider claim.

26            Assuming Trustee Brown prevailed at trial, he would have to put the Property back on the

27   market in order to collect on his judgment. Three months from now the Property might generate
28
     another offer of $1,300,000, or more, and it might not. Clearly, the payoff to the first position deed
29
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     of trust holder would increase. Further Trustee Brown would incur attorney’s fee to prepare the
 1

 2
     motion to approve the sale and defend it, because it seems highly likely the Debtor would object.

 3   Assuming Trustee Brown’s estimates of fees are remotely accurate, and another $40,000 of fees

 4   are incurred between now and the sale of the Property to satisfy any judgment Trustee Brown
 5
     obtained at trial, the amount available to creditors would be approximately $535,000, $35,000
 6
     more than the current offer.      Trustee Brown does not believe that is worth the risk. Brown
 7
     Declaration, ¶ 24.
 8
              Trustee Brown is not interested in settling this Adversary Proceeding to just incur legal
 9

10   fees in potentially two additional contested matters relating to the pending objections to claims,

11   and filing a third objection to the untimely filed claim. Trustee Brown is of the firm belief that all

12   parties are substantially benefitted in resolving this Adversary Proceeding and closing this case.
13
     Brown Declaration, ¶ 24.
14
     D.       Best Interest of Creditors.
15
              Trustee Brown believes the interest of the creditors is best served by agreeing to accept
16

17
     the settlement and avoiding the limited possibility of an adverse result at trial, but more

18   importantly, avoiding the estate from incurring further legal fees at the three-day trial in the

19   Adversary Proceeding and prosecuting the two pending objections to claims. Trustee Brown
20
     firmly believes that all parties would benefit from settling this matter and closing the case. Brown
21
     Declaration, ¶ 25.
22

23
                                               V. CONCLUSION

24
              Trustee Brown asks this Court to approve the proposed settlement and believes it is in the
25
     best interests of creditors.
26
                                               VI. OBJECTIONS
27

28

29
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               Your rights may be affected. You should read these papers carefully and discuss them with
 1

 2
     your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may

 3   wish to consult one.)

 4             If you do not want the court to approve the Trustee’s Amended Motion and/or Debtor’s
 5
     Joinder, or if you want the court to consider your views on the Trustee’s Amended Motion and/or
 6
     Debtor’s Joinder, including a statement supporting the motion, then on or before Friday,
 7
     September 10, 2021, you, or your attorney must file your objection with the court and serve a copy
 8
     upon Denice Moewes, Wood & Jones, P.S., 303 N. 67th Street, Seattle, WA 98103.
 9

10             If you mail your response, objection or comment to the Court and counsel, you must mail it

11   early enough so that the court will receive it on or before the date stated above.

12             The debtors in each of the bankruptcy cases have filed a joinder in support of the Trustee’s
13
     Amended motion to approve the settlement. Copies of the debtor’s joinder is available by email
14
     request to donald.bailey@shaferbailey.com or can be found at docket #227.
15
               If you or your attorneys do not take these steps, the Court may decide that you do not
16

17
     oppose the Trustee’s Amended Motion and/or the Debtor’s Joinder and may enter an order

18   granting the relief requested in the Trustee’s Amended Motion and/or the Debtor’s Joinder.

19             Further information regarding the Trustee’s Amended Motion may be obtained by
20
     telephoning Denice E. Moewes, at (206) 623-4382.
21
               Dated this 27th day of August, 2021.
22

23
                                                      WOOD & JONES, P.S.

24                                                    /s/ Denice E. Moewes
                                                      Denice E. Moewes, WSBA # 19464
25                                                    Attorney for Chapter 7 Trustee Ronald Brown
26

27   Dial In Instructions:

28             Dial: 1-888-363-4749
               Enter Access Code: 8955076 then press #
29
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               Enter Security Code: 3564 then press #
 1
               Speak when prompted
 2
     Guidelines:
 3          1. Use a land line phone and not a cell phone, if possible. Do not use a speaker phone.
            2. Make the call from a quiet area where background noise is minimal.
 4          3. Wait until the Judge calls your case before speaking.
            4. Do not put the phone on hold at any time after the call is connected.
 5
            5. In the event you are unable to connect to the conference call after following the above
 6
                 procedures, please contact chambers at (206) 370-5330.

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